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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


 UNITED STATES OF AMERICA,

         Plaintiff,

         v.                                             Case No. 1:13-cr-10200-GAO

 DZHOKHAR A. TSARNAEV,

         Defendant.



                                              ORDER

       Upon consideration of the Motion to Authorize Payment from Defendant’s Inmate Trust

Account (the “Motion”) filed by the United States pursuant to 18 U.S.C. §§ 3613(a) and 3664(n)

requesting the Court to enter an Order authorizing the Bureau of Prisons (“BOP”) to turnover to

the Clerk of Court any and all funds, including any funds subject to administrate hold by BOP,

held in the inmate trust account for the above-captioned defendant (the “Defendant”) as payment

for the criminal penalties imposed in this case, for the reasons stated in the Motion, the Court

concludes that cause exists to grant this Motion, and, therefore, it is hereby

       ORDERED that the Motion is GRANTED; and it is further

       ORDERED that the BOP is authorized to turnover to the Clerk of the Court, and the Clerk

of Court shall accept, any and all funds, including any funds subject to administrative hold by

BOP, currently held in the trust account for the following inmate:

       Inmate Name: Dzhokhar A. Tsarnaev
       Register Number: 95079-038
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The funds should be paid by mailing a check payable to “Clerk of Court” to the following address:
       Clerk's Office
       U. S. District Court,
       1 Courthouse Way
       Suite 2300
       Boston, MA 02210

and noting the above-captioned case number in the memo section of the check; and it is further

       ORDERED that The Clerk shall apply these funds as payment toward the criminal

monetary penalties owed by the Defendant in this case.




                                                    SO ORDERED:




DATED:                                              ________________________________
                                                    JUDGE GEORGE A. O’TOOLE, JR
                                                    UNITED STATES DISTRICT COURT




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